Case 23-40709   Doc 70-18 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                  R - MA Application for Registration Page 1 of 5




                            Exhibit R
       Case 23-40709             Doc 70-18           Filed 01/16/24           Entered 01/16/24 13:03:39               Desc Exhibit
              MA SOC FilingRNumber: 202258963650
                             - MA Application       Date: 12/12/2022
                                              for Registration  Page3:52:00
                                                                     2 of 5 PM
12/12/22, 2:48 PM To: +1 617-624-3891 From: +1 913-871-5933 - MA Foreign LLC Application for Westboroug Page 2/5




       F                  tbt Commontotaltb of Illassatbustits
                                                   William Francis Galvin.
                                               Secretary of the Commonwealth
                              One Ashburton Place, Room 1717, Boston, Massachusetts 02108-1512

                                               Foreign Limited Liability Company
                                                  Application for Registration
                                                 (General Laws Chapter 156C, Section 48)

        Federal idencification No.: XX-XXXXXXX

        (ia) The exact name of the limited liability company:
             WESTBORQUGH SPE LLC
        (i I)) If different., the name under which it proposes to do business in she Commonwealth of Massachusetts:



            lite jurisdiction* where the        liability company was organize
             Delaware
        (3) The date of organization in that jurisdiction: 1 0/2211997
        (4) The general character of the business the limited liability company proposes to do in the Commonwealth:
             Acquire, own, develop, construct, rehabilitate, improve, maintain, finance, manage, operate, lease, sell,
             convey, assign, mortgages and otherwise deal with real'estate, and to own interests in businesses
             engaged in any of the foregoing, and to carry on any related lawful business, trade, purpose or activity:

        (5) The business address of its principal office:
             1241 Deer Park Ave, Suite 1 #1051
             North Babylon, NY 11703


        (6) The business address of its principal office in the Commonwealth, if any;
             N/A



              he name and business address, if different from principal office location, of each manager;

             Denise Edwards



             Lolonyon Akouete
       Case 23-40709                 Doc 70-18 Filed 01/16/24 Entered 01/16/24 13:03:39                                       Desc Exhibit
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12/12/22, 2:48 PM To: +1 617-624-3891 From: +1 913-871-5933 - MA Foreign LLC Application for Westboroug Page 3/5



         (8) The name and bushiest address of each. person authorized to execute, acknowledge, deliver and record any recordable
             instrument purporting co affect an interest in real property recorded with a registry of deeds or district office of the fend court;
             NAME                                                           ADDRESS
             Denise Edwards                                                 1241 Deer Park Ave. Suite 1 #1051
                                                                            North Babylon, NY 11703


             Lalanyan Akauete                                               1241 Deer Park Ave, Suite 1 #1051
                                                                            North Babylon, NY 11703




         f9) The !ionic and screec seldom of the resident agent in the C,ornmenwealth:

             Universal Registered Agents, Inc.                             4 Central Street
                                                                           Woburn, MA 01801




         (11076 Ilatcbc lac or{16.1.t6n. if :.pc:E;
           l)Addivionnt ft/al-tern




                                                                                2 EL
         / Ashton Villegas on behalf of Univeisal Reyietered Agorae, Inc.
         resident agent of the above limited liability company, consent to myappointment as resident agent pursuant to            el 56C § 48
         (or attach resident agent's consent hereto).

         IANdehel,Wq/LUOlifS4Winit,,*&.64fainding
       Case 23-40709               Doc 70-18 Filed 01/16/24 Entered 01/16/24 13:03:39           Desc Exhibit
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                                                  Delaware                                        Page 1

                                                               The First State


                      I,    JEFFREY W. BULLOCK, SECRETARY OF STATE OF TEE STATE OF

              DELAWARE, DO HEREBY CERTIFY "WESTBOROUGH SPX LLC" TS DULY FORWJD

              O"DER THE LAWS OF TiE STATE OF DELAWARE.AND IS IN GOOD STANDING AND

              HAS A LEGAL EXISI NCE SO FAR AS THE RECORDS OF THIS OFFICE SHOW, AS

              OF THE TWENTY-EIGHTH DAY OF ROVEMSER, A.D. 2022.




            2811561 8300                                                           Authentication: 204939237

           SEW 20224104318                        \KcEL:1-4'                                  Date' 1128-22
           You tnav verify this certifitp.te or   orp.delawaregoviauthve   htnli
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                       202258963650      Date: 12/12/2022
                                   for Registration Page 53:52:00
                                                           of 5   PM




                THE COMMONWEALTH
                THE              OF MASSACHUSETTS
                    COMMONWEALTH OF MASSACHUSETTS



            certify that,
   I hereby certify that, upon             of this
                          upon examination of this document,
                                                   document, duly
                                                             duly submitted
                                                                  submitted to
                                                                            to me,
                                                                               me, it
                                                                                   it appears
                                                                                      appears

   that the provisions of the General Laws relative to corporations have been complied with,

    and I hereby approve said articles; and the filing fee having been paid, said articles are

                            deemed to have been filed with me on:

                                   December 12, 2022 03:52 PM




                                WILLIAM
                                WILLIAM FRANCIS GALVIN
                                        FRANCIS GALVIN

                                          of the
                                Secretary of the Commonwealth
                                                 Commonwealth
